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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE



HUGUES GERVAT, derivatively on behalf of
ZOOM VIDEO COMMUNICATIONS, INC.,

       Plaintiff,
                                                                C.A. No. 20-797 (LPS)
       vs.

ERIC S. YUAN, KELLY STECKELBERG,
JONATHAN CHADWICK, CARL M.
ESCHENBACH, PETER GASSNER, KIMBERLY
L. HAMMONDS, DAN SCHEINMAN,
SANTIAGO SUBOTOVSKY, and BART
SWANSON

       Defendants,

       and

ZOOM VIDEO COMMUNICATIONS, INC.,

       Nominal Defendant.




                       STIPULATION AND [PROPOSED] ORDER
                           STAYING DERIVATIVE ACTION

       WHEREAS, on June 11, 2020, plaintiff Hugues Gervat (“Plaintiff”), derivatively and on

behalf of nominal defendant Zoom Video Communications, Inc. (“Zoom”), filed the above-

captioned action (the “Derivative Action”) against Eric S. Yuan, Kelly Steckelberg, Jonathan

Chadwick, Carl M. Eschenbach, Peter Gassner, Kimberly L. Hammonds, Dan Scheinman,

Santiago Subotovsky, and Bart Swanson (collectively, and with Zoom, “Defendants”);

       WHEREAS, there is presently a related and previously-filed federal securities class

action pending against Zoom, Eric S. Yuan, and Kelly Steckelberg in the U.S. District Court for
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the Northern District of California, captioned In re Zoom Securities Litigation, Case No. 20-cv-

02353-JD (the “Securities Class Action”);

       WHEREAS, defendants in the Securities Class Action intend to file a motion to dismiss

therein;

       WHEREAS, the Derivative Action involves some of the same defendants, substantially

similar subject matter, and substantially similar factual allegations underlying the Securities

Class Action;

       WHEREAS, in light of the similarities between the Derivative Action and the earlier-
filed Securities Class Action, the parties to this Derivative Action agree that the proceedings in

the Securities Class Action may inform the manner in which the Derivative Action proceeds;

       WHEREAS, the parties to this Derivative Action agree to stay this Derivative Action

until and through resolution of the forthcoming motion to dismiss in the Securities Class Action;

       WHEREAS, this stipulation will conserve the parties’ and judicial resources, and

promote the efficient and orderly administration of justice;

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED as follows:

           1.   Defendants, through their undersigned counsel, hereby accept service of the

Complaint and summons.

           2.   All proceedings and deadlines in this Derivative Action shall be stayed until the

entry of any order(s) on a motion to dismiss the Securities Class Action.

           3.   Within 30 days of entry of any order(s) on a motion to dismiss in the Securities
Class Action, the parties to this Derivative Action will meet and confer in good faith and file

with the Court a proposed schedule in the Derivative Action, including for Defendants’

response(s) to the operative complaint, which will be subject to approval by the Court.

           4.   Defendants need not answer, move, or otherwise respond to the complaint in the

Derivative Action, or any subsequent complaint in the Derivative Action, until a response date

is set and/or approved by the Court following the Court lifting the stay.




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       5.      Counsel for Defendants shall promptly notify counsel for Plaintiff if and once

they become aware of any other derivative action filed in any forum that is based on the same or

substantially similar facts as those in this Derivative Action (a “Related Derivative Action”).

       6.      Defendants shall promptly notify Plaintiff if a Related Derivative Action is not

stayed for similar or longer duration than the Derivative Action.

       7.      If Defendants produce documents or written discovery to plaintiffs in any

Related Derivative Action, Defendants shall promptly provide copies to Plaintiff in the

Derivative Action. If Defendants produce documents to plaintiffs in any Related Derivative
Action before the Related Derivative Action was filed, Defendants shall provide copies to

Plaintiff in the Derivative Action promptly after the Related Derivative Action is filed.

       8.      Plaintiff has the option to terminate the stay if a Related Derivative Action is not

stayed for a similar or longer duration by giving 30 days’ notice via email to the undersigned

counsel for Defendants.

       9.      If the parties in the Securities Class Action, or in any Related Derivative Actions,

choose to pursue mediation or engage in formal settlement talks, Defendants agree to include

Plaintiff in the Derivative Action in the mediation or formal settlement talks. In the event

plaintiffs in the Securities Class Action or any Related Derivative Actions object to including

Plaintiff in Derivative Action in the mediation or formal settlement talks, Defendants agree to

mediate with Plaintiff in the Derivative Action at or about the same time.

       10.     During the stay, Plaintiff may file an amended complaint, but Defendants shall
not be required to respond to any such amended complaint until after the stay of proceedings is

lifted and the Parties have filed with the Court a proposed scheduling order governing further

proceedings.

       11.     Defendants shall not move to stay the Derivative Action in deference to any

Related Derivative Action.




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        12.    The parties to this Derivative Action are not waiving any rights, claims, or

defenses of any kind, and no part of this stipulation shall be construed as a waiver of any rights,

claims, or defenses.


Dated: July 6, 2020                    FARNAN LLP

                                       /s/ Brian E. Farnan

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                                       Counsel for Plaintiff

Dated: July 6, 2020                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                       /s/ Jennifer A. Ward

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                                Counsel for Defendants



IT IS SO ORDERED.

DATED: ________________, 2020
                                United States District Court
                                Chief Judge Leonard P. Stark




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